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3                                UNITED STATES DISTRICT COURT
4                                       DISTRICT OF NEVADA
5                                                  ***
6     KEONIS LAMONT DAVIS,                               Case No. 3:20-cv-00587-MMD-CLB
7                                       Petitioner,                    ORDER
             v.
8

9     WILLIAM GITTERE, et al.,
10                                  Respondents.
11

12          Petitioner Keonis Davis has filed an application to proceed in forma pauperis with
13   his petition for a writ of habeas corpus under 28 U.S.C. § 2254. (ECF No. 1.) The Court
14   finds Petitioner can pay the full filing fee of $5.00.
15          It is therefore ordered that Petitioner’s application to proceed in forma pauperis
16   (ECF No. 1) is denied. Petitioner shall have 30 days from the date this order is entered to
17   have the filing fee of $5.00 sent to the Clerk of Court. Failure to comply will result in the
18   dismissal of this action.
19          The Clerk of Court is directed to send Petitioner two copies of this order.
20          It is further ordered that Petitioner make the necessary arrangements to have one
21   copy of this order attached to the check paying the filing fee.
22          DATED THIS 19th Day of October 2020.
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                                                 MIRANDA M. DU
25                                               CHIEF UNITED STATES DISTRICT JUDGE
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